     Case 2:17-cv-08699-JTM-JVM Document 1-10 Filed 09/06/17 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF LOUISIANA

RODERICK HICKMAN              *                        CIVIL ACTION NO.:
                              *
VERSUS                        *
                              *                        JUDGE:
                              *
GREAT WEST CASUALTY COMPANY,*                          MAGISTRATE:
HIRSCHBACH MOTOR LINES, INC., *
and SAMUEL TAYLOR             *
                              *
*************************

                CERTIFICATE OF FILING OF STATE COURT RECORD

       Pursuant to the provisions of 28 U.S.C. § 1447(B), copies of the foregoing pleadings in the

state court proceeding titled, “Roderick Hickman versus Great West Casualty Company,

Hirschbach Motor Lines, Inc., and Samuel Taylor,” bearing number 2017-7754, Division G-11,

pending in the Civil District Court for Orleans Parish, State of Louisiana, are hereby submitted for

filing into the record of these proceedings:

       1.      Petition for Damages.

                                       Respectfully submitted:

                                       WAGAR RICHARD KUTCHER TYGIER
                                        & LUMINAIS, LLP

                                       BY:       s/ Bradley J. Luminais, Jr.
                                               BRADLEY J. LUMINAIS, JR. (#28663)
                                               HEATHER W. BLACKBURN (# 26749)
                                               Two Lakeway Center
                                               3850 N. Causeway Boulevard, Suite 900
                                               Metairie, Louisiana 70002
                                               Telephone (504) 830-3838
                                               Facsimile (504) 836-9540
                                               Attorneys for Defendants, Great West Casualty
                                               Company and Hirschbach Motor lines, Inc.




                                                   1
     Case 2:17-cv-08699-JTM-JVM Document 1-10 Filed 09/06/17 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of September, 2017, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the CM/ECF system. I further certify that I have sent the

foregoing document via electronic mail, facsimile, and/or mailed by first-class mail (postage

prepaid) to all known non-CM/ECF participants.

                                                      s/ Bradley J. Luminais, Jr.
                                                     BRADLEY J. LUMINAIS, JR.




                                                2
